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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE:
                                                  Case No. 21-33094
 SCARLET INFOTECH, INC. d/b/a
 EXPEDIEN, INC.                                   Chapter 7

          Debtor.


                         VERIFICATION OF CREDITOR MATRIX

        The above named Debtor hereby verifies that the attached list of creditors is true and
correct to the best of his/her knowledge.


Dated: September 23, 2021                            /s/ Jiten Agarwal
                                                     President
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                44 Islands Co.
                442 Brady Lane
                West Lake Hills, TX 78746



                Appridat Solutions LLC
                5655 Peachtree Parkway
                Ste. #207
                Peachtree Corners, GA 30092


                Beck Redden
                1221 McKinney St.
                Suite 4500
                Houston, TX 77010


                Blue Cross Blue Shield of Texas
                4888 Loop Central Dr.
                Houston, TX 77081



                Blue Cross Blue Shield of Texas
                1001 E. Lookout Drive
                Richardson, Texas 75082



                Cloud Factors LLC
                4206 Tanner Woods Lane
                Sugar Land, TX 77479



                Corpteq Solutions Inc.
                1255 Peachtree Parkway
                Ste. #4104
                Cumming, GA 30041


                Cybersoft Technologies, Inc.
                4422 Cypress Creek Pkwy
                Houston, TX 77068



                E2Serv Ventures Pvt. Ltd.
                204 Chawla Complex, Sector 15
                CBD Belapur, Navi Mumbai – 400614
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                Eficens Systems LLC
                5400 Laurel Springs Pkwy
                Suite 603
                Suwanee GA 30024


                Euclid Elementz, Inc.
                1000 Rt 9 North
                Ste. 303
                Woodbridge, NJ 07095


                Expedien India Private Limited
                Delhi – Jaipur Express way
                Sector 18, Gurugram, Harayana – 1220008



                GETLOB Private Limited
                Mythris the Tiwn, F. No. B-102
                Sahili Garden, Yapral – 500087



                Guardian
                6255 Sterner’s Way
                Bethlehem, PA 18017-9464



                The Guardian Insurance
                10 Hudson Yards
                New York, NY 10001



                Hartford Insurance
                One Hartford Plaza
                Hartford, CT 06155



                Hicks Consulting Group, Inc.,
                1630 N. Main Street
                Ste. 216
                Walnut Creek, CA 94596


                Hilcox Insurance Company, Inc.
                104 South Michigan Avenue
                Ste. 600
                Chicago, IL 60603


                Humana, Inc.
                500 West Main St.
                Louisville, KY 40202
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                Karwell Technologies, Inc.
                285 Durham Avenue
                Ste. 11
                South Plainfield, NJ 07080

                Kwanzatech, Inc
                21801 Northcrest Drive
                #337
                Spring, TX 77386


                Kwanzatech, Inc
                7435 Little River Tpke
                Suite #103
                Annandale, VA 22003


                Morlogic Inc.
                2500 Packard St.
                Ste. 201
                Ann Arbor, MI 48104


                Parkins Lee & Rubio LLP
                700 Milam
                Suite 1300
                Houston, TX 77002


                Qualitrix
                Tank Bund Miller, Near Shifaa Hospital
                Bangalore 560052



                QuantAI, LLC
                13710 Slate Creek Ln
                Houston, TX 77077



                SAIPSIT, Inc.
                10998 S Wilcrest Drive
                #123
                Houston, TX 77099


                Seiler Mitby PLLC
                2700 Research Forest
                Suite 100
                The Woodlands, TX 77381


                Shinewell Technologies Inc.
                22710 Haggerty Road
                Ste. 132
                Farmington Hills, MI 48335
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                Sure Payroll
                2350 Ravine Way
                Glenview, IL 60025


                SVB Financial Group
                3003 Tasman Drive
                Santa Clara, CA 95054



                TAP Associates, LLC
                1828 Snake River Rd
                Ste. D&E
                Katy, TX 77449


                TAPFIN Process Solutions
                100 Manpower Place
                Milwaukee, WI 53212


                United Software Corporation
                6200 La Calma Drive
                #115
                Austin, TX 78752


                V3Tech Solutions, Inc.
                113 Executive Pointe Boulevard
                Ste 201
                Columbia, SC 29210


                Wells Fargo
                420 Montgomery Street
                San Francisco, CA 94104



                Work Suites
                5100 Westheimer Road
                Houston, TX 77056
